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AO 2458 (CASDRev. 08/13) Judgment in a Criminal Case

                                                                                                         L-_
                                                                                                               ,
                                                                                                               I,


                                       UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF CALIFORNIA

             UNITED STATES OF AMERICA                              JUDGMENT IN A CRIMINAL CASE
                                  V.                               (For Offenses Committed On or After November t, 19.81)
                     RICK MINH T A (7)
                                                                      Case Number:          14CR0225 MMA            -r11
                                                                    RICHARD BOESEN
                                                                    Defendant's Attorney
REGISTRATION NO.                  46438298
o -
THE DEFENDANT:
Il?J pleaded guilty to count(s)          ONE OF THE SUPERSEDING INDICTMENT

o was found guilty on count(s)
    after a plea of not guiltv.
Accordingly, the defendant is adjudged gUilty of such count(s), which involve the following offense(s):
                                                                                                                            Count
Title & Section                        Nature of Offense                                                                   Numberfsl
21 USC 841(a)(1) and 846               CONSPIRACY TO DISTRIBUTE METHAMPHETAMINE                                                1




    The defendant is sentenced as provided in pages 2 through                  4           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
 ~   Count(s)    UNDERLYING INDICTMENT                        is           dismissed on the motion ofthe United States.

 IZI Assessment: $100.00



 IZI No fine                  0 Forfeiture pursuant to order filed                                                   , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.




                                                                     HON. MICHAEL M. ANELLO
                                                                     UNITED STATES DISTRICT JUDGE



                                                                                                                        14CR0225 MMA
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AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:                RICK MINH T A (7)                                                       Judgment - Page 1 of 4
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                                                 IMPRISONMENT
 The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a tenn of:
 ONE-HUNDRED TWENTY (120) MONTHS




 o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 [81   The court makes the following recommendations to the Bureau of Prisons:
       COURT RECOMMENDS PLACEMENT IN THE RESIDENTIAL DRUG ABUSE PROGRAM.
       COURT ALSO RECOMMENDS PLACEMENT IN THE SOUTHEAST REGION OF THE UNITED
       STATES.


 o     The defendant is remanded to the custody of the United States Marshal.

 o     The defendant shall surrender to the United States Marshal for this district:
       o at                              A.M.             on ____________________

        o    as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o     Prisons:
        o    on or before
        o    as notified by the United States Marshal.
        o    as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

        Defendant delivered on
                                 -------------------- ---------------------
                                                                         to

 at                                        , with a certified copy of this judgment.


                                                                 UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL


                                                                                                      l4CR0225 MMA
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        DEFENDANT:                   RICK MINH T A (7)                                                                           Judgment - Page 3 of 4
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                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
FIVE (5) YEARS


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
              The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o             substance abuse. (Check, if applicable.)
1ZI           The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
              The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
1:8:1
              Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
              The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 1690), et
o             seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
              resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o             The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

              If this judgment imposes a fine or a restitution obligation, it shall be a condition ofsupervised release that the defendant pay any
         such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
         of Payments set forth in this judgment.
             The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
         with any special conditions imposed.
                                            STANDARD CONDITIONS OF SUPERVISION
         I)  the defendant shall not leave the judicial district without the pennission of the court or probation officer;
         2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
         3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
         4) the defendant shall support his or her dependents and meet other family responsibilities:
         5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
             reasons;
         6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
         7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
             any paraphernalia related to any controlled substances, except as prescribed by a physician;
         8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
         9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
              unless granted pennission to do so by the probation officer;
         10) the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
              observed in plain view of the probation officer;
         11) the defendant shall notiry the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
         12) the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the pennission of
              the court; and
         13) as directed by the probation officer, the defendant shall notify third parties ofrish that may be occasioned by the defendant's criminal record or
              personal history or characteristics and shall pennit the probation officer to make such notifications and to confinn the defendant's compliance
              with such notification requirement.


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DEFENDANT:           RICK MINH T A (7)                                            Judgment - Page 4 of 4
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                              SPECIAL CONDITIONS OF SUPERVISION


      1. Participate in a program of drug or alcohol abuse treatment, including urinalysis or
         sweat patch testing and counseling, as directed by the probation officer. Allow for
         reciprocal release of information between the probation officer and the treatment
         provider. May be required to contribute to the costs of services rendered in an
         amount to be determined by the probation officer, based on ability to pay.


      2. Report all vehicles owned or operated, or in which you have an interest, to the
         probation officer.


      3. Submit your person, property, residence, office or vehicle to a search, conducted by
         a United States Probation Officer at a reasonable time and in a reasonable manner,
         based upon reasonable suspicion of contraband or evidence of a violation of a
         condition of release; failure to submit to a search may be grounds for revocation;
         the defendant shall warn any other residents that the premises may be subject to
         searches pursuant to this condition.


      4. Shall not knowingly associate with any member, prospect, or associate of the
         (Oriental Killer Boyz), or any other gang, or club with a history of criminal
         activity, unless given permission by the probation officer.


      5. Shall not knowingly wear or possess any paraphernalia, insignia, clothing,
         photographs, or any other materials associated with a gang, unless given permission
         by the probation officer.


      6. Shall not knowingly loiter, or be present in locations known to be areas where gang
         members congregate, unless given permission by the probation officer.
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